      Case 1:16-cv-02871-CAP Document 65-3 Filed 01/15/20 Page 1 of 7




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Southern Poverty Law Center, Inc. ]
                                  ]
      Plaintiff,                  ]
                                  ]
vs.                               ]              CIVIL ACTION
                                  ]        FILE NO. 1:16-CV-02871-CAP
United States Department of       ]
Homeland Security; and United ]
States Immigration and Customs ]
Enforcement,                      ]
                                  ]
___________________________ ]


                 DECLARATION OF G. BRIAN SPEARS


        I, G. Brian Spears, hereby make the statements set out below

  under penalty of perjury:

1.    My name is George Brian Spears. I am legally competent to make

      this affidavit and have personal knowledge of the facts set forth

      herein.

2.    I submit this affidavit to the Court for the purpose of providing

      evidence upon the issues presented to the Court by Plaintiff

      Southern Poverty Law Center’s Motion for Attorney’s Fees.



                                       1
     Case 1:16-cv-02871-CAP Document 65-3 Filed 01/15/20 Page 2 of 7




3.   To arrive at the opinions expressed in this affidavit, I have reviewed

     the following described materials:

       a) COMPLAINT, filed by Southern Poverty Law Center, Inc.

       b) Answer by Defendants

       c) Amended Complaint

       d) Answer to Amended Complaint

       e) Motion for Summary Judgment by United States Department of

          Homeland Security

       f) Response in Opposition to Motion for Summary Judgment

       g) Response in Opposition – Plaintiff’s Sur-Reply Memorandum

       h) Order Denying Defendants’ Motion for Summary Judgment

       i) Motion for Summary Judgment by Southern Poverty Law Center

       j) Response in Opposition to Motion for Summary Judgment

       k) Order Granting in Part and Denying in Part Plaintiff’s Motion for

          Summary Judgment

       l) Declaration of Matthew Howell in Support of Motion for

          Fees

       m) Declaration of Lisa Graybill in Support of Motion for Fees

       n) Plaintiff’s Motion for Attorneys’ Fees and Brief in Support and

          Plaintiff’s Supplemental Brief in Support of Motion for Fees.
                                       2
     Case 1:16-cv-02871-CAP Document 65-3 Filed 01/15/20 Page 3 of 7




4.   I am a member of the State Bar of The State of Georgia (admitted 1978);

     I am also a member of the State Bar of California (1975, inactive). I

     have been admitted to practice in the United States Supreme Court,

     Eleventh Circuit Court of Appeals and all the United States District

     Courts of the State of Georgia. I have been admitted pro hac vice

     before the United States District Court of the Eastern District of

     Tennessee, the District Court for the Middle District of Alabama, the

     District Court for the Northern District of Alabama, the District

     Court for the Southern District of Florida, and the District Court for

     the State of South Carolina, among others.

5.   I am a graduate of the University of Michigan (B.A., Ed, 1971) and

     the Golden Gate University School of Law (L.L.B., 1975).

6.   I have been practicing law since 1975 and have practiced

     continuously in the State of Georgia since 1978.

7.   I am in private practice in Atlanta, Georgia. I am a sole practitioner.

8.   I specialize in civil rights cases in general, and "police practices" cases

     in particular. At present, approximately 80% of my practice hours are



                                       3
      Case 1:16-cv-02871-CAP Document 65-3 Filed 01/15/20 Page 4 of 7




      devoted to litigation involving claims arising from circumstances of

      arrest and detention.

9.    Over the past forty years I have been involved in scores of lawsuits

      before the United States District Court in and for the Northern

      District of Georgia and before other courts – many involving police

      practices, including those alleging excessive force, wrongful arrest,

      sexual assault, denial of medical care, malicious prosecution, and

      failure to protect. I have also been involved in Freedom of

      Information Act litigation and have relied upon that federal

      legislation to secure documentation pertaining to prisoners in federal

      custody, including the Department of Homeland Security.

10.   I have briefed and /or argued the appeals of many such cases,

      including the following: Freeman v. Barnes, 282 Ga. App. 895

      (2006); Wilson v. Attaway, 757 F.2d 1227 (11th Cir. 1985); Glass v.

      Gates, 291 Ga. 350 (2012); Rivera v. Washington, 298 Ga. 770, 784

      S.E.2d 775 (2016); Hoyt v. Cooks, 672 F.3d 972 (11th Cir.2012);

      Fennell v. Gilstrap, 559 F.3d 1212 (11th Cir.2009); Campbell v. Lynch,

      264 Fed. Appx. 836 (11th Cir. 2008); Ramos-Barrientos v. Bland, 661

      F.3d 587 (11th Cir. 2011); Hispanic Interest Coal. v. Governor of Ala.,

      691 F.3d 1236 (11th Cir. 2012); Powell v. Barrett, 541 F.3d 1298 (11th
                                       4
      Case 1:16-cv-02871-CAP Document 65-3 Filed 01/15/20 Page 5 of 7




      Cir. 2008); Collins v. Duncan, 20 F.3d 1175 (11th Cir. 1994); Ga. Latino

      All. for Human Rights v. Governor of Ga., 691 F.3d 1250 (11th Cir.

      2012); Mitchell v. Stewart, 608 F. App'x 730 (11th Cir. 2015); and

      Croland v. City of Atlanta, 782 F. App'x 753 (11th Cir. 2019).

11.   I am personally familiar with the billing practices of Georgia

      attorneys who handle civil rights cases in the Atlanta area. The hourly

      rates charged by and awarded to these attorneys [in fee petition

      proceedings] differ depending on the number of years they have been in

      practice, the reputation they have achieved in the legal community, and

      the skills they possess as efficient, effective and persuasive advocates

      before the courts. The rates charged by and awarded to Atlanta attorneys

      for cases of a similar nature and complexity as that presented in this

      litigation range from $250.00 for new attorneys to $450.00 per hour

      for an attorney with several years of experience in federal litigation.

      Attorneys with greater experience, such as those with twenty or more

      years of practice charge or are awarded hourly rates of $650 and above.

      In my opinion, the hourly rate compensation sought by Plaintiff’s counsel

      is both reasonable and well within the range for hourly rates of attorneys

      of like and similar experience.


                                         5
      Case 1:16-cv-02871-CAP Document 65-3 Filed 01/15/20 Page 6 of 7




12.   My review of the case materials leads me to conclude that this was a

      challenging and difficult case for the Plaintiff. The issues presented by

      this case arise in a specialized area of the law requiring legal precision and

      a high degree of attention to detail and, in my opinion, such precision and

      attention to detail is reflected in the work product of the attorneys

      representing Plaintiff.

13.   I have reviewed the summary of time expended by Plaintiff’s counsel.

      In my opinion, the prosecution of the Plaintiffs’ claims was handled in a

      remarkably efficient and cost-effective manner.

14.   In my civil rights practice, I routinely exercise billing judgment in

      determining what to (and what not to) charge clients. This means I do

      not bill clients for tasks that I believe are excessive or redundant or did

      not reasonably contribute to achieving the objective I sought on behalf

      of a client through the litigation. I have reviewed the reductions

      described in Ms. Graybill’s Declaration.

15.   I believe these reductions reflect a good faith exercise of counsel’s

      billing judgment, and even went beyond – in terms of the reductions

      made to compensable time – what most attorneys would have done in

      normal billing practice.


                                          6
Case 1:16-cv-02871-CAP Document 65-3 Filed 01/15/20 Page 7 of 7




So stated under penalty of perjury on this 14th day of January, 2020.



                       G. Brian Spears
                       Georgia Bar No. 670112
                       G. BRIAN SPEARS, P.C.
                       1126 Ponce de Leon Ave., N.E.
                       Atlanta, Georgia 30306
                       Phone: (404) 872-7086
                       Email: Bspears@mindspring.com




                                7
